Case 1:22-cv-00041-JJM-LDA       Document 18     Filed 02/24/22    Page 1 of 2 PageID #:
                                       1060



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

STAY AWAY FROM THE CANS, LLC, :
                     Plaintiff      :
                                    :
      v.                            :           C.A. No. 1:22-cv-00041-JJM-LDA
                                    :
TOWN OF JOHNSTON and JOSEPH         :
CHIODO, in his Official Capacity as :
Finance Director for the Town of    :
Johnston,                           :
                     Defendants     :


                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1(a), Plaintiff Stay Away From the Cans, LLC gives

notice that it has no parent corporation and that no publicly-held corporation owns 10%

or more of its stock.



                                         Plaintiff Stay Away From the Cans, LLC

                                         By its Attorneys,

                                         /s/ Robert Clark Corrente
                                         /s/ Christopher N. Dawson
                                         Robert Clark Corrente (#2632)
                                         Christopher N. Dawson (#8508)
                                         WHELAN CORRENTE & FLANDERS LLP
                                         100 Westminster Street, Suite 710
                                         Providence, RI 02903
                                         Tel. (401) 270-4500
                                         Fax (401) 270-3760
                                         rcorrente@whelancorrente.com
                                         cdawson@whelancorrente.com

Dated: February 24, 2022
Case 1:22-cv-00041-JJM-LDA         Document 18       Filed 02/24/22     Page 2 of 2 PageID #:
                                         1061



                               CERTIFICATE OF SERVICE

         I hereby certify that on February 24, 2022, the foregoing document was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the Court's electronic filing
system as indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court's CM/ECF System.


                                            /s/ Robert Clark Corrente




69207.DOCX




                                               2
